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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

  In re:                                 ) Chapter 11
                                         )
  BCause Mining LLC,                     )
                                         ) Judge Janet S. Baer
  Debtor/Debtor-in-Possession.           )
                                         ) Case No. 19-10562

                                NOTICE OF MOTION

 TO:       ATTACHED SERVICE LIST

        PLEASE TAKE NOTICE that on the 21st day of June, 2019, at 9:00 a.m.,
 or soon thereafter as counsel can be heard, I shall appear before the Honorable
 Janet S. Baer, Bankruptcy Judge, in the room usually occupied by him as
 Courtroom 615 in the United States Bankruptcy Court in the Everett McKinley
 Dirksen Federal Building, 219 S. Dearborn Street, Chicago, Illinois, or before any
 other Judge who may be sitting in his place and stead and shall present the Motion
 for Authority to Reject Office Lease With W-R2 Jefferson Owner VIII, L.L.C.
 as of August 1, 2019, a copy of which is attached hereto and herewith served
 upon you, and shall pray for the entry of an Order in compliance therewith.

           AT WHICH TIME and place you may appear if you so see fit.

                                                 /s/Scott R. Clar
                                                 Crane, Simon, Clar & Dan
                                                 135 S. LaSalle St., # 3705
                                                 Chicago, Illinois 60603
                                                 (312) 641-6777

                             CERTIFICATE OF SERVICE

         The undersigned, being first duly sworn on oath deposes and states that he
 caused a copy of the foregoing Notice and attached Motion to be served via the
 Court’s Electronic Registration (ECF)/email/First Class U.S. Mail (as indicated) on
 all parties listed on the attached Service List on the 12th day of June, 2019.

                                                        /s/Scott R. Clar




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                                    SERVICE LIST

 Via ECF

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 c/o R2 Companies
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 Chicago, IL 60607
 Attn: Mathew G. Garrison
 mg@r2.me

 Via First Class U.S. Mail
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 c/o Walton Street Capital
 900 N. Michigan Ave., #1900
 Chicago, IL 60611
 Attn: Angela Lang
       Douglas J. Welker
       James Odenbach




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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                    )   Chapter 11
                                           )
 BCause Mining LLC,                        )
                                           )   Judge Janet S. Baer
 Debtor/Debtor-in-Possession.              )
                                           )   Case No. 19-10562
                                           )   Jointly Administered

 MOTION FOR AUTHORITY TO REJECT OFFICE LEASE WITH W-R2 JEFFERSON
               OWNER VIII, L.L.C. AS OF AUGUST 1, 2019

          BCause LLC, a Virginia limited liability company, debtor/debtor-in-possession

herein (“Debtor”), by and through its attorneys, makes its Motion for Authority to Reject

Office Lease With W-R2 Jefferson Owner VIII, L.L.C. as of August 1, 2019 (“Motion”),

pursuant to Section 365(g) of the Bankruptcy Code, and in support thereof, respectfully

states as follows:

                                      INTRODUCTION

          1.    On April 12, 2019, the Debtor filed its voluntary petition for relief under

Chapter 11 of the Bankruptcy Code (“Petition Date”).

          2.    The Debtor has been operating its business and managing its financial

affairs as debtor-in-possession since the Petition Date. No trustee, examiner or

committee of unsecured creditors has been appointed in the Debtor’s Chapter 11 case.

          3.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. Sections

157 and 1334.

          4.    This matter constitutes a “core” proceeding within the meaning of 28 U.S.C.

Section 157(b)(2)(A), (M) and (O).




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       5.     The statutory predicate for the relief requested in this Motion is Section

365(g) of the Bankruptcy Code.

       6.     By this Motion, the Debtor requests that this Court authorize it to reject a

certain office lease as of August 1, 2019, between the Debtor and W-R2 Jefferson Owner

VIII, L.L.C. for certain real property located at 130 S. Jefferson, Chicago, Illinois (the

“Jefferson Street Office Lease”). The Jefferson Street Office Lease contemplates, as of

July 1, 2019, a monthly rental of approximately $10,197. A copy of the Office Lease is

attached hereto as Exhibit A.

                              Relevant Factual Background

       7.     The Debtor, BCause Mining LLC, is a limited liability company formed in

the Commonwealth of Virginia in 2013. The Debtor, BCause LLC, is a holding company

that wholly owns and is the only member of BCause Mining LLC (“Mining”) (formed in

2017); BCause Spot LLC (2017); BCause Derivatives LLC (2017); BCause Clear LLC

(2017); BCause Secure LLC (2018); and BCause Trust, Inc. (2018), each also formed in

the Commonwealth of Virginia. Each entity is in good standing in Virginia. The Debtor

has operations in Virginia Beach, VA and in Chicago, IL and employs 27 full-time and 4

part-time employees.

       8.     The Debtor is building a full-stack cryptocurrrency ecosystem which is

intended to be a venue that will serve as a one-stop shop for all parts of the digital

currency value chain. The various subsidiary entities are intended to serve professional

traders, institutional investors, retail traders, and bitcoin miners. No entity other than

Mining and the Debtor are currently operating.




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       9.      The Debtor provides a state of the art mining facility in Virginia Beach,

Virginia, and maintains offices located at 130 S. Jefferson Street, Suite 101, Chicago,

Illinois, 60661, and 192 Ballard Court, Virginia Beach, Virginia.

       10.     Both the Debtor and Mining’s Chapter 11 filings were triggered by a

judgment entered in favor of WESCO in the approximate amount of $1,300,000 and a

garnishment of the Debtor’s bank account, from which all of the Debtor’s and Mining’s

bills are paid, including bills for utilities such as Dominion Energy, which had threatened

a shut-off of Mining’s utilities for non-payment, as of April 12, 2019.

                                     The Office Lease

       11.     The Debtor is a party to the Jefferson Street Office Lease with W-R2

Jefferson Owner VIII, L.L.C. for space at 130 South Jefferson, Chicago, Illinois (the

“Premises”).

       12.     The Debtor’s administrative employees in Chicago are located at the

Premises.

       13.     The Debtor is committed to reducing expenditures in its chapter 11 case,

and as a result, has determined that the Jefferson Street Office Lease is an

unnecessary expense and that less expensive space can be procured elsewhere. The

Debtor is in the process of negotiating replacement office space in Chicago.

                                     Relief Requested

       14.     The Debtor requests the entry of an order authorizing it to reject the

Jefferson Street Office Lease as of August 1, 2019.




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      15.    Rejection of the Jefferson Street Office Lease is in the best interest of the

Debtor’s estate and its creditors for the reason that an unnecessary expense will be

eliminated or reduced.

      WHEREFORE, BCause LLC, a Virginia limited liability company, debtor/debtor-in-

possession, prays for the entry of an order rejecting that certain Office Lease between

BCause LLC and W-R2 Jefferson Owner VIII, L.L.C. as of August 1, 2019, and granting

such other relief as this Court deems just and equitable.

                                                BCause LLC, a Virginia limited
                                                liability company,

                                                By:/s/Scott R. Clar
                                                    One of its Attorneys


DEBTORS’ COUNSEL:
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(Atty. No. 06183741)
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